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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,
v.                                                       Case No. 2:17-cr-5
                                                         HON. PAUL L. MALONEY
JAMES DARRELL WILSON,

                      Defendant.
_______________________________/

                                   ORDER OF DETENTION

         Defendant appeared before the undersigned on February 22, 2017, for

arraignment on the Indictment after his arrest in the Eastern District of Michigan.

         Defendant was detained at his initial appearance in Detroit and def ense counsel

was unclear as to whether or not a detention hearing was held. He will look into that

issue and request a detention hearing if needed.

         For reasons stated on the record defendant shall be detained pending further

proceedings.


         IT IS SO ORDERED.

                                            /s/ Timothy P. Greeley
                                           TIMOTHY P. GREELEY
                                           UNITED STATES MAGISTRATE JUDGE
Dated: February 22, 2017
